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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHO
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                      )       Case No. 1:17CR161
                                               )
               Plaintiff,                      )       Judge Benita Y. Pearson
                                               )
       vs.                                     )       REPORT AND RECOMMENDATION
                                               )       OF MAGISTRATE JUDGE
GAYANE LASHINA,                                )
                                               )
               Defendant.                      )       Magistrate Judge Kathleen B. Burke
                                               )

       Pursuant to General Order 99-49, this matter having been referred to United States

Magistrate Judge Kathleen B. Burke for purposes of receiving, on consent of the parties, the

defendant’s offer of a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11,

causing a verbatim record of the proceedings to be prepared, referring the matter, if appropriate,

for presentence investigation, and submitting a Magistrate Judge’s Report and Recommendation

stating whether the plea should be accepted and a finding of guilty entered, the following, along

with the transcript or other record of the proceedings submitted herewith, constitutes the

Magistrate Judge’s Report and Recommendation concerning the plea of guilty proffered by the

defendant.

       1.      On May 18, 2017, the defendant, accompanied by counsel, proffered a plea of

               guilty to Count 1 of the Information.

       2.      Prior to such proffer, the defendant was examined as to her competency,

               advised of the charge and the consequences of conviction, informed that the

               Federal Sentencing Guidelines are advisory and the Court must consider them

               but the Court may impose any sentence authorized by law, notified of her

               rights, advised that she was waiving all her rights except the right to counsel,

               and, with limited
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                                                2

               exceptions, her right to appeal, and otherwise provided with the

               information prescribed in Fed. R. Crim. P. 11.

       3.      The parties and counsel informed the court about the plea agreement between the

               parties, and the undersigned was advised that, aside from such agreement as

               described or submitted to the court, no other commitments or promises have been

               made by any party, and no other agreements, written or unwritten, have been made

               between the parties.

       4.      The undersigned, having questioned the defendant under oath about the knowing,

               intelligent, and voluntary nature of the plea of guilty, finds that the defendant’s

               plea was offered knowingly, intelligently, and voluntarily.

       5.      The parties provided the undersigned with sufficient information about the charged

               offense(s) and the defendant’s conduct to establish a factual basis for the plea.

       In light of the foregoing and the record submitted herewith, the undersigned finds that the

defendant’s plea was knowing, intelligent, and voluntary, and that all requirements imposed by the

United States Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the undersigned

recommends that the plea of guilty be accepted and a finding of guilty be entered by the Court.

                                                     s/Kathleen B. Burke
                                               Kathleen B. Burke
                                               United States Magistrate Judge

Date: May 18, 2017



       ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of

Court within fourteen (14) days of receipt of this notice. Fed. R. Crim. P. 59. Failure to file

objections within the specified time constitutes a WAIVER of the right to appeal the Magistrate

Judge’s recommendation. Id.
